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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

   SCOTT WYNN, an individual,

                     Plaintiff,

   v.                                             Case No. 3:21-cv-514-MMH-JRK

   THOMAS J. VILSACK, in his official
   capacity as U.S. Secretary of Agriculture,
   and ZACH DUCHENEAUX, in his official
   capacity as Administrator, Farm Service
   Agency,

                     Defendants.



                                      ORDER


         In accordance with Local Rule 7.02, members of the press may enter the

   courthouse with a laptop computer, tablet, and/or cell phone to attend the

   preliminary injunction hearing tomorrow morning at 10:00 a.m. before the

   undersigned in Courtroom 10B.

         Any member of the press entering the courthouse with a laptop, tablet, or

   cell phone must present the Court Security Officers with media credentials.

   Live transmission of any kind from the courtroom is strictly prohibited. This

   prohibition includes, but is not limited to, texting, emailing, tweeting, blogging,

   and messaging or posting via social media. In addition, no audio or video
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   recording is allowed in the courthouse at any time. All electronic devices must

   be on silent while in the courtroom.

         DONE AND ORDERED in Jacksonville, Florida on June 15, 2021.




   Copies to:

   U.S. Marshal Service
   Court Security Officer
   Division Manager




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